                  Case 4:23-mj-00943 Document 1 Filed on 05/03/23 in TXSD Page 1 of 4
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                          United States Courts
                                                                                                         Southern District of Texas
                                                             for the                                              FILED
                                                Southern District of Texas
                                             __________              __________                                   May 03, 2023
                  United States of America                      )                                     Nathan Ochsner, Clerk of Court
                             v.                                 )
                                                                )       Case No.   4:23-mj-943
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                                    in the
                       District of                          , the defendant(s) violated:

            Code Section                                                  Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                           Complainant’s signature


                                                                                            Printed name and title

Sworn to and signed by telephone


Date:        May 03, 2023
                                                                                              Judge’s signature

City and state:
                                                                                            Printed name and title
  Case 4:23-mj-00943 Document 1 Filed on 05/03/23 in TXSD Page 2 of 4

                                                                      4:23-mj-943
                      Affidavit in Support of Criminal Complaint




      I, Ricardo N. Cannon, am a Special Agent (SA) of the Drug Enforcement
Administration, being sworn telephonically, depose and state as follows:

        I am empowered under Title 21, United States Code, Section 878, to enforce Title
21 and other criminal laws of the United States, to make arrests and obtain and execute
search, seizure and arrest warrants. I have been so employed by the Drug Enforcement
Administration as a DEA Special Agent since April of 2015. Currently, I am assigned to
the DEA Houston Field Division. In connection with my official duties, I investigate
criminal violations of the Controlled Substances Act. I have received special training in
the enforcement of laws concerning controlled substances as found in Title 21 of the
United States Code. In connection with my duties and responsibilities as a law
enforcement officer, I have testified in judicial proceedings for violations of laws
concerning controlled substances. I have participated in numerous drug trafficking
investigations, including investigations that have resulted in felony arrests for violations
of Title 21 of the United States Code. I have been involved in various types of electronic
surveillance, in the execution of search and arrest warrants, and in the debriefing of
defendants, witnesses and informants, as well as others who have knowledge of
distribution and transportation of controlled substances, and of the laundering and
concealing of proceeds from controlled substances trafficking. Based upon my training
and experience in narcotics trafficking cases involving violations of Title 21, I have
prepared this affidavit in support of criminal complaint, charging Rodolfo RODRIGUEZ
with violations of Title 21.

        In May 2022, Special Agent Ricardo Cannon received information that Rodolfo
RORDIGUEZ was involved in fentanyl trafficking and distributing thousand pill count
quantities of pills containing the presence of fentanyl, in the Houston, Texas area. SA
Cannon further developed information that RODRIGUEZ was from Mexico and without
legal resident status in the United States.

         On June 1, 2022 a cooperating source (CS) acting under the direction of DEA,
negotiated the purchase of Fentanyl from RODRIGUEZ. The transaction was agreed to
take place at 2331 Bammelwood Apartments in Houston, Texas. At approximately 6:10
p.m., Investigators from the DEA High Intensity Drug Trafficking Area (HIDTA) group
H-31 and investigators from the Houston Police Department (HPD) established
surveillance at the residence located at 2331 Bammelwood Dr., apt 1509, Houston,
Texas. The CS was provided with $3,250.00. At approximately 7:53 p.m., the CS drove
to 2331 Bammelwood Dr. At approximately 8:04 p.m., the CS arrived at the Cypress
Ridge Apartments located at 2331 Bammelwood Drive and parked in a visitors parking
spot, directly outside the secure residential parking area. At approximately 8:06
p.m., Surveillance Agents observed RODRIGUEZ, who was wearing tan shorts, a black
t-shirt, and a black hat, exit a white Nissan. Surveillance Agents then observed
  Case 4:23-mj-00943 Document 1 Filed on 05/03/23 in TXSD Page 3 of 4




RODRIGUEZ walk to the CS’s vehicle and enter the front passenger door. While inside
of the CS's vehicle, RODRIGUEZ gave the CS a clear plastic bag containing
approximately 1000 suspected fentanyl pills in exchange for $3,250.00. At
approximately 8:08 p.m., SA Trevino observed RODRIGUEZ exited the CS’s vehicle
and enter the front driver side door of the Nissan. Surveillance Agents then observed
RODRIGUEZ drive into the secure residential parking area and park. Surveillance
Agents then observed RODRIGUEZ walk into a walkway towards apartment 1509. SA
Cannon was able to confirm with the South-Central DEA Laboratory that the pills
provided by RODRIGUEZ contained the presence of fentanyl. The approximate 1,000
pill count seized on June 1, 2022 weighed approximately 0.114 kilograms.

  On June 16, 2022, at approximately 1:20 p.m., Investigators from the group H-31
established surveillance at 5959 Cypress Creek Parkway, Houston, Texas. On the
previous day, Rodolfo RODRIGUEZ agreed to provide the CS with 1,000 fentanyl pills
for $3,000. The CS was provided with $3,000.00 for the 1,000-fentanyl pill purchase. At
approximately 2:22 p.m., Surveillance Units observed the CS drive into the front office
parking area and park prior to the main entrance, at the apartment complex located at
5959 Cypress Creek Parkway, Houston, Texas. At approximately 2:23 p.m., Surveillance
Agents observed RODRIGUEZ, who was wearing a dark red t-shirt, gold chain and
baseball hat, walk towards the CS’s vehicle. At approximately 2:26 p.m., Surveillance
units observed RODRIGUEZ enter the front passenger side door of the CS’s
vehicle. While inside the CS’s vehicle, RODRIGUEZ gave the CS a green bag
containing approximately 1000 suspected fentanyl pills in exchange for $3,000.00. At
approximately 2:28 p.m., surveillance Agents observed RODRIGUEZ exit the CS vehicle
and walk to the front entrance gate of the apartment complex. SA Cannon was able to
confirm with the DEA South Central Laboratory, at a later date, that the pills provided by
RODRIGUEZ on this date did contain the presence of fentanyl. The approximate 1,000
pill count seized on June 16, 2022 weighed approximately 0.114 kilograms.

        On October 24, 2022, at approximately 03:30 pm, SA Cannon utilized the UC to
conduct an operation in which RODRIGUEZ agreed to provide the UC with an
approximate kilogram of powder/brick-like fentanyl for $10,000. Agents set up
surveillance to observe the UC meet with RODRIGUEZ at the Mambos parking lot at
10810 North Freeway in Houston, Texas. At approximately 03:35 pm RODRIGUEZ and
an individual later identified as Gaudencia NIETO JIMENEZ (NIETO) arrived in a black
Chevrolet Traverse LS with Texas tags RZW1761. RODRIGUEZ was driving and
NIETO was his passenger. Agents observed RODRIGUEZ get out and meet with the UC
and hand the UC a package wrapped in a plastic bag. RODRIGUEZ was observed by
the UC and surveillance as retrieving the package from the back-storage floorboard area
of the Traverse and the UC placed the package into his vehicle and RODRIGUEZ
proceeded to drive away from the Mambo’s parking lot in the Traverse.

         The UC advised surveillance that there was another package that appeared to be
in the Traverse and that it was wrapped in a suspicious manner and was potentially
fentanyl. SA Cannon and GS Ferner advised HPD units on surveillance to conduct a
traffic stop of the Traverse. Upon the traffic stop, a second approximate kilogram of
  Case 4:23-mj-00943 Document 1 Filed on 05/03/23 in TXSD Page 4 of 4




suspected fentanyl was recovered in a black Chevrolet Travers LS (Texas Tags
RZW1761) along with $10,000 in cash that had been provided by the UC.
RODRIGUEZ was driving the vehicle at the time of the stop and accompanied by
NIETO. HPD Officer Garza asked RODRIGUEZ if there were drugs or contraband in
the vehicle and RODRIGUEZ advised that he “had drugs in the car” and specifically in
the back-storage area of the Traverse (in Spanish). Officer Garza located an additional
package of suspected fentanyl in the back-storage floorboard area of the Traverse along
with the $10,000 in US Currency. After receiving his Miranda warnings RODRIGUEZ
admitting to receiving the two packages of fentanyl from an apartment building in
Cypress, Texas. RODRIGUEZ also admitted to knowingly distributing the 1 kilogram of
fentanyl to an individual, moments prior to the traffic stop.

        RODRIGUEZ was released from the traffic stop in furtherance of the
investigation. SA Cannon processed approximate 2.23 Kilograms of recovered brick-like
fentanyl, into the Houston Division Office, as witnessed by SA Cordero. This was the
total between the hand to hand transaction with the HPD UC and what was seized from
the subsequent traffic stop. Utilizing the MX908 machine located in the Drug Evidence
of the Houston Division Office, SA Cannon tested both recovered packages positive for
the presence of fentanyl.

        Based on my experience and the aforementioned facts and observations, your
affiant believes there is probable cause to believe that Rodolfo RODRIGUEZ on June 1,
2022, June 16, 2022 and October 24, 2022, did knowingly, intentionally, and unlawfully
possess with intent to distribute approximately one thousand pills (containing fentanyl
weighting approximately 0.114 kilograms), one thousand pills (containing fentanyl and
weighing approximately 0.136 kilograms) and 2.23 kilograms of fentanyl (powder
form), a Schedule 1 controlled substance, in violation of Title 21, United States Code,
Sections, 841(a)(1), 841(b)(1)(A) and 846.

                                                   Ricardo Cannon
                                                   Special Agent Ricardo Cannon
                                                   Drug Enforcement Administration

   Sworn to and subscribed before me telephonically on this 3rd day of May, 2023,
and I hereby find probable cause.

                                                   _____________________________
                                                   Hon. Andrew M. Edison
                                                   United States Magistrate Judge
